                                          Case 4:19-cv-07123-PJH Document 38 Filed 03/20/20 Page 1 of 4




                                  1                                  UNITED STATES DISTRICT COURT

                                  2                                 NORTHERN DISTRICT OF CALIFORNIA

                                  3
                                        WHATSAPP INC., et al.,
                                  4                                                     Case No. 19-cv-07123-PJH
                                                      Plaintiffs,
                                  5
                                               v.                                       ORDER SETTING CASE
                                  6                                                     MANAGEMENT CONFERENCE
                                        NSO GROUP TECHNOLOGIES
                                  7     LIMITED, et al.,                                [Reassigned Case]

                                  8                   Defendants.

                                  9           TO ALL PARTIES AND COUNSEL OF RECORD:

                                  10   The above matter having been reassigned to the Honorable Phyllis J. Hamilton, IT IS

                                  11   HEREBY ORDERED, pursuant to Fed. R. Civ. P. 16(b) and Civil L. R. 16-10, that a Case

                                  12   Management Conference shall be held in this case on May 28, 2020, at 2:00 p.m., in
Northern District of California
 United States District Court




                                  13   Courtroom 3, 3rd Floor, Federal Building, 1301 Clay Street, Oakland, California.

                                  14          Lead counsel shall meet and confer as required by Fed. R. Civ. P. 26(f) prior to

                                  15   the Case Management Conference with respect to those subjects set forth in Fed. R. Civ.

                                  16   P. 16(c). Not less than seven (7) days before the conference, counsel shall file a joint

                                  17   case management statement addressing each of the items listed in the "Standing Order

                                  18   For All Judges of the Northern District -- Contents of Joint Case Management statement,"

                                  19   which is attached to this order and can also be found on the court's website. A proposed

                                  20   order is not necessary. Following the conference, the court will enter its own Case

                                  21   Management and Pretrial Order. If any party is proceeding without counsel, separate

                                  22   statements may be filed by each party.

                                  23          Each party shall appear personally or by lead counsel prepared to address all of

                                  24   the matters referred to in this Order and with authority to enter stipulations and make

                                  25   admissions pursuant to this Order. Any request to reschedule the date of the conference

                                  26   shall be made in writing, and by stipulation if possible, at least ten (10) days before the

                                  27   date of the conference and must be based upon good cause.

                                  28
                                            Case 4:19-cv-07123-PJH Document 38 Filed 03/20/20 Page 2 of 4




                                  1                             STANDING ORDER FOR ALL JUDGES

                                  2                         OF THE NORTHERN DISTRICT OF CALIFORNIA

                                  3                  CONTENTS OF JOINT CASE MANAGEMENT STATEMENT

                                  4

                                  5    All judges of the Northern District of California require identical information in Joint Case

                                  6    Management Statements filed pursuant to Civil Local Rule 16-9. The parties must include

                                  7    the following information in their statement which, except in unusually complex cases,

                                  8    should not exceed ten pages:

                                  9    1.     Jurisdiction and Service: The basis for the court’s subject matter jurisdiction over

                                  10   plaintiff's claims and defendant’s counterclaims, whether any issues exist regarding

                                  11   personal jurisdiction or venue, whether any parties remain to be served, and, if any

                                  12   parties remain to be served, a proposed deadline for service.
Northern District of California
 United States District Court




                                  13   2.     Facts: A brief chronology of the facts and a statement of the principal factual

                                  14   issues in dispute.

                                  15   3.     Legal Issues: A brief statement, without extended legal argument, of the disputed

                                  16   points of law, including reference to specific statutes and decisions.

                                  17   4.     Motions: All prior and pending motions, their current status, and any anticipated

                                  18   motions.

                                  19   5.     Amendment of Pleadings: The extent to which parties, claims, or defenses are

                                  20   expected to be added or dismissed and a proposed deadline for amending the pleadings.

                                  21   6.     Evidence Preservation: A brief report certifying that the parties have reviewed the

                                  22   Guidelines Relating to the Discovery of Electronically Stored Information (“ESI

                                  23   Guidelines”), and confirming that the parties have met and conferred pursuant to Fed. R.

                                  24   Civ. P. 26(f) regarding reasonable and proportionate steps taken to preserve evidence

                                  25   relevant to the issues reasonably evident in this action. See ESI Guidelines 2.01 and

                                  26   2.02, and Checklist for ESI Meet and Confer.

                                  27   7.     Disclosures: Whether there has been full and timely compliance with the initial

                                  28   disclosure requirements of Fed. R. Civ. P. 26, and a description of the disclosures made.
                                                                                     2
                                             Case 4:19-cv-07123-PJH Document 38 Filed 03/20/20 Page 3 of 4




                                  1    8.      Discovery: Discovery taken to date, if any, the scope of anticipated discovery, any

                                  2    proposed limitations or modifications of the discovery rules, a brief report on whether the

                                  3    parties have considered entering into a stipulated e-discovery order, a proposed

                                  4    discovery plan pursuant to Fed. R. Civ. P. 26(f), and any identified discovery disputes.

                                  5    9.      Class Actions: If a class action, a proposal for how and when the class will be

                                  6    certified, and whether all attorneys of record for the parties have reviewed the Procedural

                                  7    Guidance for Class Action Settlements.

                                  8    10.     Related Cases: Any related cases or proceedings pending before another judge of

                                  9    this court, or before another court or administrative body.

                                  10   11.     Relief: All relief sought through complaint or counterclaim, including the amount of

                                  11   any damages sought and a description of the bases on which damages are calculated. In

                                  12   addition, any party from whom damages are sought must describe the bases on which it
Northern District of California
 United States District Court




                                  13   contends damages should be calculated if liability is established.

                                  14   12.     Settlement and ADR: Prospects for settlement, ADR efforts to date, and a specific

                                  15   ADR plan for the case, including compliance with ADR L.R. 3-5 and a description of key

                                  16   discovery or motions necessary to position the parties to negotiate a resolution.

                                  17   13.     Consent to Magistrate Judge For All Purposes: Whether all parties will consent to

                                  18   have a magistrate judge conduct all further proceedings including trial and entry of

                                  19   judgment. ___ Yes       ___ No

                                  20   14.     Other References: Whether the case is suitable for reference to binding arbitration,

                                  21   a special master, or the Judicial Panel on Multidistrict Litigation.

                                  22   15.     Narrowing of Issues: Issues that can be narrowed by agreement or by motion,

                                  23   suggestions to expedite the presentation of evidence at trial (e.g., through summaries or

                                  24   stipulated facts), and any request to bifurcate issues, claims, or defenses.

                                  25   16.     Expedited Trial Procedure: Whether this is the type of case that can be handled

                                  26   under the Expedited Trial Procedure of General Order No. 64 Attachment A. If all parties

                                  27   agree, they shall instead of this Statement, file an executed Agreement for Expedited

                                  28   Trial and a Joint Expedited Case Management Statement, in accordance with General
                                                                                      3
                                             Case 4:19-cv-07123-PJH Document 38 Filed 03/20/20 Page 4 of 4




                                  1    Order No. 64 Attachments B and D.

                                  2    17.     Scheduling: Proposed dates for designation of experts, discovery cutoff, hearing of

                                  3    dispositive motions, pretrial conference and trial.

                                  4    18.     Trial: Whether the case will be tried to a jury or to the court and the expected

                                  5    length of the trial.

                                  6    19.     Disclosure of Non-party Interested Entities or Persons: Whether each party has

                                  7    filed the “Certification of Interested Entities or Persons” required by Civil Local Rule 3-15.

                                  8    In addition, each party must restate in the case management statement the contents of

                                  9    its certification by identifying any persons, firms, partnerships, corporations (including

                                  10   parent corporations) or other entities known by the party to have either: (i) a financial

                                  11   interest in the subject matter in controversy or in a party to the proceeding; or (ii) any

                                  12   other kind of interest that could be substantially affected by the outcome of the
Northern District of California
 United States District Court




                                  13   proceeding. In any proposed class, collective, or representative action, the required

                                  14   disclosure includes any person or entity that is funding the prosecution of any claim or

                                  15   counterclaim.

                                  16   20.     Professional Conduct: Whether all attorneys of record for the parties have

                                  17   reviewed the Guidelines for Professional Conduct for the Northern District of California.

                                  18   21.     Such other matters as may facilitate the just, speedy and inexpensive disposition

                                  19   of this matter.

                                  20

                                  21           IT IS SO ORDERED.

                                  22   Dated: March 20, 2020

                                  23                                                   /s/ Phyllis J. Hamilton
                                                                                     ____________________________________
                                                                                     PHYLLIS J. HAMILTON
                                  24                                                 United States District Judge
                                  25

                                  26

                                  27

                                  28
                                                                                      4
